              Case 15-31423                  Doc
 Fill in this information to identify the case:
                                                         Filed 06/04/19              Entered 06/04/19 13:31:26                    Desc Main
                                                             Document                Page 1 of 5
 Debtor 1               Radonna Jean Brinton
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)
                                                                    Utah
 United States Bankruptcy Court for the:BBBBBBBBBBBBBBBDistrict RIBBBBBBBBBBBBBBBBBBB
                                                                                 6WDWH
             15-31423 JTM
 &DVHQXPEHUBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




Form 4100R
Response to Notice of Final Cure Payment                                                                                                                10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.



 Part 1:         Mortgage Information

                                  US Bank Trust N.A., as trustee of Bungalow Series F Trust                                Court claim no. (if known):
 Name of creditor:                ______________________________________
                                                                                                                           10
                                                                                                                           _________________
                                                                                                9      6      4    2
 Last 4 digits of any number you use to identify the debtor’s account:                          ____ ____ ____ ____

                                  10873 Tahoe Way
 Property address:                ________________________________________________
                                  Number     Street

                                  _______________________________________________

                                  South Jordan                     UT         84009
                                  ________________________________________________
                                  City                        State    ZIP Code



 Part 2:         Prepetition Default Payments

  Check one:

  ✔
        Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition defaulton
        the creditor’s claim.

       Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as                                        $ __________
        ofBBBBBBBBBBBBBBBBBLV


 Part 3:         Postpetition Mortgage Payment

  Check one:

       Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
        the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

   $VRIBBBBBBBBBBBBBWKHQH[Wpostpetition payment from the debtor(s) is due on:         ___BBBBBBB______ LQWKHDPRXQWRIBBBBBBBBBBBBBBBBBBBBBB
                                                                                           MM / DD / YYYY

  ✔
        Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
        of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
                                                                     06/04/2019
        Creditor asserts that the total amount remaining unpaid asRIBBBBBBBBBBLV
        D Total postpetition ongoing payments due:                                                                                      (a)
                                                                                                                                                 3,474.54
                                                                                                                                               $ __________
        E Total fees, charges, expenses, escrow, and costs outstanding:                                                             +   (b)
                                                                                                                                                 0.00
                                                                                                                                               $ __________

        F Total. Add lines a and b.                                                                                                     (c)     3,474.54
                                                                                                                                               $ __________
        Creditor asserts that the debtor(s) are contractually
        obligated for the postpetition payment(s) that first became                       04/01/2019
                                                                                           ____BBBBBBB_____
        due on:                                                                            MM / DD / YYYY


Form 4100R                                                    Response to Notice of Final Cure Payment                                                 page 1
             Case 15-31423                    Doc          Filed 06/04/19           Entered 06/04/19 13:31:26                 Desc Main
                                                               Document             Page 2 of 5
                 Radonna Jean Brinton                                                                             15-31423 JTM
Debtor 1        _______________________________________________________                       Case number (if known) _____________________________________
                First Name      Middle Name               Last Name




 Part 4:       Itemized Payment History


  ,IWKHFUHGLWRUGLVDJUHHVLQ3DUWWKDWWKHSUHSHWLWLRQDUUHDUDJHKDVEHHQSDLGLQIXOORUVWDWHVLQ3DUWWKDWWKH
  GHEWRU V DUHQRWFXUUHQWZLWKDOOSRVWSHWLWLRQSD\PHQWVLQFOXGLQJDOOIHHVFKDUJHVH[SHQVHVHVFURZDQG
  FRVWVWKHFUHGLWRUPXVWDWWDFKDQLWHPL]HGSD\PHQWKLVWRU\GLVFORVLQJWKHIROORZLQJDPRXQWVIURPWKHGDWHRIWKH
  EDQNUXSWF\ILOLQJWKURXJKWKHGDWHRIWKLVUHVSRQVH
         DOOSD\PHQWVUHFHLYHG
         DOOIHHVFRVWVHVFURZDQGH[SHQVHVDVVHVVHGWRWKHPRUWJDJHDQG
         DOODPRXQWVWKHFUHGLWRUFRQWHQGVUHPDLQXQSDLG




 Part 5:       Sign Here


  The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
  proof of claim.

  Check the appropriate box::

        I am the creditor.
        I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this response is true and correct
 to the best of my knowledge, information, and reasonable belief.
 Sign and print your name and your title, if any, and state your address and telephone number if different
 from the notice address listed on the proof of claim to which this response applies.




               8__________________________________________________
                 /s/ Brian J. Porter
                  Signature
                                                                                              Date    06/04/2019
                                                                                                      ________________




 Print              Brian J. Porter
                   _________________________________________________________                  Title    Attorney at Law
                                                                                                      ___________________________________
                   First Name                      Middle Name         Last Name




 Company            Halliday, Watkins & Mann, P.C.
                   _________________________________________________________



 If different from the notice address listed on the proof of claim to which this response applies:



 Address            376 East 400 South, Suite 300
                   _________________________________________________________
                   Number                 Street


                   Salt Lake City, UT 84111
                   ___________________________________________________
                   City                                                State       ZIP Code




 Contact phone      801
                   (______) 355
                            _____– 2886
                                   _________                                                  Email info@hwmlawfirm.com




Form 4100R                                                        Response to Notice of Final Cure Payment                                       page 2
Case 15-31423      Doc     Filed 06/04/19      Entered 06/04/19 13:31:26        Desc Main
                               Document        Page 3 of 5




                                     MAILING CERTIFICATE

       The undersigned hereby certifies that a true and correct copy of this Response to

Final Cure Payment was mailed by first class mail, postage prepaid, or via ECF, this 4th

day of June, 2019, to each of the following:

          Radonna Jean Brinton                       Justin M. Myers
          10873 S. Tahoe Way                         Via ECF
          South Jordan, UT 84095                     Debtor’s Attorney
          Debtor
                                                     Lon Jenkins
          United States Trustee                      Via ECF
          Via ECF                                    Chapter 13 Trustee

                                                          /s/ Brian J. Porter
                                                          Brian J. Porter
                                                          Case 15-31423                                Doc              Filed 06/04/19                            Entered 06/04/19 13:31:26                                    Desc Main
                                                                                                                            Document                              Page 4 of 5

                                                                                                                  Payment Changes
                                                                        Date                    P&I                  Escrow       Total                    Notice Filed
                                                                               2/1/2016                                                   $1,198.63        Filed w/POC
                                                                               6/1/2017                                                   $1,430.28        NOPC
                                                                               7/1/2017                                                   $1,574.15        NOPC
                                                                               7/1/2018                                                   $1,648.36        NOPC



                      Loan Information
Loan #                    xxxxxxxxxx
Borrower                  Matchett
BK Case #                 15-31423
Date Filed                12/9/2015
First Post Petition
Due Date                  1/1/2016
POC Covers

         Date                     Amount Rcvd    Post Pet Due Date       Contractual Due Date         Amt Due         Over/Short     Suspense Credit   Suspense Debit       Suspense Balance  POC Arrears Credit   POC Debit       POC Suspense Balance POC Paid to Date    Comments
            3/9/2016               $1,282.18         1/1/2016                  3/1/2015               $1,198.63            $83.55               $83.55                                 $83.55                                                      $0.00            $0.00
           3/16/2016               $1,243.79         2/1/2016                  4/1/2015               $1,198.63            $45.16               $45.16                                $128.71                                                      $0.00            $0.00
           4/30/2016                $743.79                                                                               $743.79              $743.79                                $872.50                                                      $0.00            $0.00
           4/30/2016                $500.00           3/1/2016                  5/1/2015              $1,198.63          -$698.63                             $698.63                 $173.87                                                      $0.00            $0.00
            6/7/2016               $1,051.77          4/1/2016                  6/1/2015              $1,198.63          -$146.86                             $146.86                  $27.01                                                      $0.00            $0.00
           7/12/2016               $1,198.63          5/1/2016                  6/1/2015              $1,198.63             $0.00                                                      $27.01                                                      $0.00            $0.00
           7/13/2016               $2,403.96          6/1/2016                  6/1/2015              $1,198.63         $1,205.33              $1,204.53                            $1,231.54                                                      $0.00            $0.00
            8/9/2016               $1,205.40         7/1/2016                  7/1/2015               $1,198.63             $6.77                  $6.77                            $1,238.31                                                      $0.00            $0.00
           9/15/2016               $1,205.40         8/1/2016                  8/1/2015               $1,198.63             $6.77                  $6.77                            $1,245.08                                                      $0.00            $0.00
          10/14/2016               $1,205.40         9/1/2016                  9/1/2015               $1,198.63             $6.77                  $6.77                            $1,251.85                                                      $0.00            $0.00
           12/2/2016               $1,205.40         10/1/2016                 10/1/2015              $1,198.63             $6.77                  $6.77                            $1,258.62                                                      $0.00            $0.00
          12/20/2016                              Trustee Payment                                                           $0.00                                                   $1,258.62             $81.25                                  $81.25          $81.25
            1/3/2017                 $750.00         11/1/2016                 11/1/2015              $1,198.63          -$448.63                                   $448.63           $809.99                                                     $81.25          $81.25
            1/3/2017                 $455.40         12/1/2016                 12/1/2015              $1,198.63          -$743.23                                   $743.23            $66.76                                                     $81.25          $81.25
            2/1/2017                              Trustee Payment                                                           $0.00                                                      $66.76            $302.25                                 $383.50         $383.50
            2/2/2017                 $1,335.53        1/1/2017                 1/1/2016               $1,198.63           $136.90                                                      $66.76                                                    $383.50         $383.50
           2/23/2017                 $1,465.66        2/1/2017                 2/1/2016               $1,198.63           $267.03               $267.03                               $333.79                                                    $383.50         $383.50
           2/28/2017                 $1,440.66        3/1/2017                 3/1/2016               $1,198.63           $242.03               $242.03                               $575.82                                                    $383.50         $383.50
            3/8/2017                              Trustee Payment                                                           $0.00                                                     $575.82           $302.25                                  $685.75         $685.75
           3/24/2017                              Trustee Payment                                                           $0.00                                                     $575.82           $302.25                                  $988.00         $988.00
            4/4/2017                 $785.66          4/1/1/17                 4/1/2016               $1,198.63          -$412.97                                   $412.97           $162.85                                                    $988.00         $988.00
           4/11/2017                 $575.00                                                                              $575.00               $575.00                               $737.85                                                    $988.00         $988.00
           4/20/2017                              Trustee Payment                                                           $0.00                                                     $737.85           $302.25                                $1,290.25       $1,290.25
                                                 Pre Petition Applied          5/1/2016                                     $0.00                                                     $737.85                          $1,198.63                  $91.62       $1,290.25
           4/28/2017                 $780.53          5/1/2017                 6/1/2016               $1,198.63          -$418.10                                   $418.10           $319.75                                                     $91.62       $1,290.25
           5/19/2017                 $50.00                                                                                $50.00                 $50.00                              $369.75                                                     $91.62       $1,290.25
           5/19/2017                              Trustee Payment                                                           $0.00                                                     $369.75           $302.25                                  $393.87       $1,592.50
           6/13/2017                 $1,298.07        6/1/2017                 7/1/2016               $1,430.28          -$132.21                                   $132.21           $237.54                                                    $393.87       $1,592.50
           6/15/2017                 $1,335.53        7/1/2017                 8/1/2016               $1,430.28           -$94.75                                    $94.75           $142.79                                                    $393.87       $1,592.50
           6/29/2017                 $1,664.97        8/1/2017                 9/1/2016               $1,430.28           $234.69               $234.69                               $377.48
           6/30/2017                              Trustee Payment                                                           $0.00                                                     $377.48           $302.25                                  $696.12        $1,894.75
           7/31/2017                 $2,598.72        9/1/2017                 10/1/2016              $1,574.15         $1,024.57              $1,024.57                            $1,402.05                                                    $696.12        $1,894.75
           8/16/2017                              Trustee Payment                                                           $0.00                                                   $1,402.05          $1,108.56                               $1,804.68        $3,003.31
                                                 Pre Petition Applied          11/1/2016                                    $0.00                                                   $1,402.05                          $1,574.15                 $230.53        $3,003.31
           8/31/2017                 $1,355.53        10/1/2017                12/1/2016              $1,574.15          -$218.62                                   $218.62         $1,183.43                                                    $230.53        $3,003.31
           9/14/2017                              Trustee Payment                                                           $0.00                                                   $1,183.43            $302.25                                 $532.78        $3,305.56
          10/18/2017                              Trustee Payment                                                           $0.00                                                   $1,183.43            $302.25                                 $835.03        $3,607.81
          10/24/2017                 $825.00          11/1/2017                1/1/2017               $1,574.15          -$749.15                                   $749.15           $434.28                                                    $835.03        $3,607.81
          10/25/2017                 $500.00                                                                              $500.00               $500.00                               $934.28                                                    $835.03        $3,607.81
          11/14/2017                              Trustee Payment                                                           $0.00                                                     $934.28            $302.25                               $1,137.28        $3,910.06
          11/30/2017                 $1,355.53        12/1/2017                2/1/2017               $1,574.15          -$218.62                                   $218.62           $715.66                                                  $1,137.28        $3,910.06
          12/14/2017                              Trustee Payment                                                           $0.00                                                     $715.66           $302.25                                $1,439.53        $4,212.31
          12/29/2017                 $1,405.00        1/1/2018                 3/1/2017               $1,574.15          -$169.15                                   $169.15           $546.51                                                  $1,439.53        $4,212.31
           1/19/2018                              Trustee Payment                                                           $0.00                                                     $546.51           $302.25                                $1,741.78        $4,514.56
                                                 Pre Petition Applied          4/1/2017                                                                                               $546.51                          $1,574.15                 $167.63
           1/31/2018                 $1,405.63        2/1/2018                 5/1/2017               $1,574.15          -$168.52                                   $168.52           $377.99                                                   $167.63         $4,514.56
           2/13/2018                              Trustee Payment                                                           $0.00                                                     $377.99           $302.25                                 $469.88         $4,816.81
           2/28/2018                 $1,405.53                                                                          $1,405.53              $1,405.53                            $1,783.52                                                    $469.88        $4,816.81
           3/14/2018                              Trustee Payment                                                           $0.00                                                   $1,783.52            $302.25                                 $772.13        $5,119.06
           3/30/2018                 $1,405.53        3/1/2018                 6/1/2017               $1,574.15          -$168.62                                   $168.62         $1,614.90                                                    $772.13        $5,119.06
           4/17/2018                              Trustee Payment                                                           $0.00                                                   $1,614.90            $302.25                               $1,074.38        $5,421.31
           4/25/2018                 $1,387.06        4/1/2018                 7/1/2017               $1,574.15          -$187.09                                   $187.09         $1,427.81                                                  $1,074.38        $5,421.31
           5/21/2018                              Trustee Payment                                                           $0.00                                                   $1,427.81            $302.25                               $1,376.63        $5,723.56
           6/12/2018                              Trustee Payment                                                           $0.00                                                   $1,427.81            $302.25                               $1,678.88        $6,025.81
                                                 Pre Petition Applied          8/1/2017                                     $0.00                                                   $1,427.81                          $1,574.15                 $104.73        $6,025.81
                                        Case 15-31423              Doc        Filed 06/04/19           Entered 06/04/19 13:31:26             Desc Main
                                                                                  Document             Page 5 of 5

       6/25/2018   $1,471.00         5/1/2018         9/1/2017    $1,574.15     -$103.15               $103.15   $1,324.66                           $104.73   $6,025.81
       7/18/2018                Trustee Payment                                    $0.00                         $1,324.66   $302.25                 $406.98   $6,328.06
        8/1/2018   $1,648.32         6/1/2018         10/1/2017   $1,648.36       -$0.04                 $0.04   $1,324.62                           $406.98   $6,328.06
       8/15/2018                Trustee Payment                                    $0.00                         $1,324.62   $302.25                 $709.23   $6,630.31
        9/5/2018   $1,471.37         7/1/2018         11/1/2017   $1,648.36     -$176.99               $176.99   $1,147.63                           $709.23   $6,630.31
       9/18/2018                Trustee Payment                                    $0.00                         $1,147.63   $302.25               $1,011.48   $6,932.56
       10/3/2018   $1,545.15         8/1/2018         12/1/2017   $1,648.36     -$103.21               $103.21   $1,044.42                         $1,011.48   $6,932.56
      10/17/2018                Trustee Payment                                    $0.00                         $1,044.42   $302.25               $1,313.73   $7,234.81
      10/23/2018   $1,545.15         9/1/2018         1/1/2018    $1,648.36     -$103.21               $103.21     $941.21                         $1,313.73   $7,234.81
      11/14/2018                Trustee Payment                                    $0.00                           $941.21   $301.60               $1,615.33   $7,536.41
       12/4/2018   $1,545.14        10/1/2018         2/1/2018    $1,648.36     -$103.22               $103.22     $837.99                         $1,615.33   $7,536.41
      12/24/2018                Trustee Payment                                    $0.00                           $837.99   $301.60               $1,916.93   $7,838.01
                               Pre Petition Applied   3/1/2018                     $0.00                           $837.99             $1,648.36     $268.57   $7,838.01
        1/2/2019   $1,545.14        11/1/2018         4/1/2018    $1,648.36     -$103.22               $103.22     $734.77                           $268.57   $7,838.01
       1/16/2019                Trustee Payment                                    $0.00                           $734.77   $301.60                 $570.17   $8,139.61
        2/4/2019   $1,540.19        12/1/2018         5/1/2018    $1,648.36     -$108.17               $108.17     $626.60                           $570.17   $8,139.61
       2/13/2019                Trustee Payment                                    $0.00                           $626.60   $301.60                 $871.77   $8,441.21
       2/28/2019   $1,550.14         1/1/2019         6/1/2018    $1,648.36      -$98.22                $98.22     $528.38                           $871.77   $8,441.21
       3/12/2019                Trustee Payment                                    $0.00                           $528.38   $301.60               $1,173.37   $8,742.81
        4/1/2019   $1,412.96        2/1/2019          7/1/2018    $1,648.36     -$235.40               $235.40     $292.98                         $1,173.37   $8,742.81
       4/17/2019                Trustee Payment                                    $0.00                           $292.98   $301.60               $1,474.97   $9,044.41
       4/29/2019   $1,412.96                                                   $1,412.96   $1,412.96             $1,705.94                         $1,474.97   $9,044.41
       5/14/2019                Trustee Payment                                    $0.00                         $1,705.94   $116.69               $1,591.66   $9,161.10
       5/29/2019   $1,412.96       3/1/2019           8/1/2018    $1,648.36     -$235.40               $235.40   $1,470.54                         $1,591.66   $9,161.10
                                                                                   $0.00                         $1,470.54                         $1,591.66   $9,161.10
Due                                                   4/1/2019    $1,648.36   -$1,648.36                         $1,470.54                         $1,591.66   $9,161.10
                                                      5/1/2019    $1,648.36   -$1,648.36                         $1,470.54                         $1,591.66   $9,161.10
                                                      6/1/2019    $1,648.36   -$1,648.36                         $1,470.54                         $1,591.66   $9,161.10
                                                                                   $0.00                         $1,470.54                         $1,591.66   $9,161.10
